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                                                                          USDC SDNY
                                                                          DOCUMENT
UNITED STATES DISTRICT COURT                                              ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                             DOC #:
 ------------------------------------------------------------   X         DATE FILED: 10/15/2020
 UNITED STATES OF AMERICA                                       :
                                                                :
                 -against-                                      :
                                                                :   19-CR-166 (VEC)
                                                                :
 COREY CRAY,                                                    :       ORDER
                                                                :
                                          Defendant.            :
 ------------------------------------------------------------   X

VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 13, 2020, the parties appeared before the Court for a scheduling

conference;

        IT IS HEREBY ORDERED an arraignment is scheduled for October 19, 2020, at 9:00

a.m. to occur as a video conference using the CourtCall platform.

        As requested, defense counsel will be given an opportunity to speak with the Defendant

by telephone for fifteen minutes before the sentencing proceeding begins (i.e., at 8:45 a.m.);

defense counsel should make sure to answer the telephone number that was previously provided

to Chambers at that time.

        To optimize the quality of the video feed, the Court, the Defendant, defense counsel, and

the AUSA will appear by video for the proceeding; all others will participate by telephone. Due

to the limited capacity of the CourtCall system, only one counsel per party may participate. Co-

counsel, members of the press, and the public may access the audio feed of the conference by

calling 855-268-7844 and using access code 67812309# and PIN 9921299#.

        In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;
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further, it should be used only at the time of the conference because using it earlier could result

in disruptions to other proceedings.

       To optimize use of the CourtCall technology, all those participating by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

       Further, all participants must identify themselves every time they speak, spell any proper

names for the court reporter, and take care not to interrupt or speak over one another. Finally, all

of those accessing the conference—whether in listen-only mode or otherwise—are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

       If CourtCall does not work well enough and the Court decides to transition to its

teleconference line, counsel should call (888) 363-4749 // Access code: 3121171# // Security

code: 0166#. Counsel should adhere to the following rules and guidelines:

           1. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           2. To facilitate an orderly conference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.

           3. If there is a beep indicating that a new caller has joined while counsel is speaking,
              counsel should pause to allow the Court to ascertain the identity of the new
              participant and confirm that the court reporter has not been dropped from the call.

       If possible, defense counsel shall discuss the attached Waiver of Right to be Present at

Criminal Proceeding with the Defendant prior to the proceeding. If the Defendant consents, and

is able to sign the form, defense counsel shall file the executed form at least 24 hours prior to
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the proceeding. In the event the Defendant consents, but counsel is unable to obtain the

Defendant’s physical signature on the form, the Court will conduct an inquiry at the outset of the

proceeding to determine whether it is appropriate for the Court to add the Defendant’s signature

to the form.




SO ORDERED.

Dated: October 15, 2020
      New York, NY
                                                            ___________________________
                                                            VALERIE CAPRONI
                                                            United States District Judge
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                               WAIVER OF RIGHT TO BE
                               -v-                                             PRESENT AT CRIMINAL
                                                                               PROCEEDING
                                COREY CRAY,
                                           Defendant.                            19-CR-166 (VEC)
-----------------------------------------------------------------X

Check Proceeding that Applies

____      Arraignment

          I have been given a copy of the indictment containing the charges against me and have reviewed
          it with my attorney. I understand that I have a right to appear before a judge in a courtroom in
          the Southern District of New York to confirm that I have received and reviewed the indictment;
          to have the indictment read aloud to me if I wish; and to enter a plea of either guilty or not guilty
          before the judge. After consultation with my attorney, I wish to plead not guilty. By signing this
          document, I wish to advise the court of the following. I willingly give up my right to appear in a
          courtroom in the Southern District of New York to advise the court that:

                     1)        I have received and reviewed a copy of the indictment.
                     2)        I do not need the judge to read the indictment aloud to me.
                     3)        I plead not guilty to the charges against me in the indictment.

Date:                _________________________                       ____________________________
                     Print Name                                      Signature of Defendant

____      Entry of Plea of Guilty

          I am aware that I have been charged with violations of federal law. I have consulted with my
          attorney about those charges. I have decided that I wish to enter a plea of guilty to certain
          charges. I understand I have a right to appear before a judge in a courtroom in the Southern
          District of New York to enter my plea of guilty and to have my attorney beside me as I do. I am
          also aware that the public health emergency created by the COVID-19 pandemic has interfered
          with travel and restricted access to the federal courthouse. I have discussed these issues with my
          attorney. By signing this document, I wish to advise the court that I willingly give up my right to
          appear in person before the judge to enter a plea of guilty. By signing this document, I also wish
          to advise the court that I willingly give up any right I might have to have my attorney next to me
          as I enter my plea so long as the following conditions are met. I want my attorney to be able to
          participate in the proceeding and to be able to speak on my behalf during the proceeding. I also
          want the ability to speak privately with my attorney at any time during the proceeding if I wish to
          do so.

Date:                _________________________                       ____________________________
                     Print Name                                      Signature of Defendant
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____    Sentence

        I understand that I have a right to appear before a judge in a courtroom in the Southern District
        of New York at the time of my sentence and to speak directly in that courtroom to the judge who
        will sentence me. I am also aware that the public health emergency created by the COVID-19
        pandemic has interfered with travel and restricted access to the federal courthouse. I do not wish
        to wait until the end of this emergency to be sentenced. I have discussed these issues with my
        attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
        courtroom with my attorney and the judge who will impose that sentence. By signing this
        document, I wish to advise the court that I willingly give up my right to appear in a courtroom in
        the Southern District of New York for my sentencing proceeding as well as my right to have my
        attorney next to me at the time of sentencing on the following conditions. I want my attorney to
        be able to participate in the proceeding and to be able to speak on my behalf at the proceeding.
        I also want the ability to speak privately with my attorney at any time during the proceeding if I
        wish to do so.


Date:           _________________________               ____________________________
                Print Name                              Signature of Defendant

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and
this waiver and consent form. I affirm that my client knowingly and voluntarily consents to the
proceedings being held with my client and me both participating remotely.


Date:           __________________________              _____________________________
                Print Name                              Signature of Defense Counsel



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The
interpreter’s name is: _______________________.


Date:           _________________________
                Signature of Defense Counsel




Accepted:       ________________________
                Signature of Judge
                Date:
